                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

IAN McLAUGHLIN,                        )
                                       )
        Plaintiff,                     )
                                       )
   v.                                  )   Case No. 5:22-CV-00500-D-BM
                                       )
LILY CHIN,                             )
                                       )
        Defendant.                     )
                                       )

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR LEAVE TO
             FILE ECF NOS. 46-1 AND 46-2 UNDER SEAL




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                                        INTRODUCTION

       Plaintiff Ian McLaughlin (“Plaintiff”) respectfully submits this Memorandum of Law in

Support of Plaintiff’s Motion for Leave to File Under Seal. Plaintiff seeks to file, or maintain,

under seal ECF Nos. 46-1 and 46-2, which are, respectively, Exhibits 1 and 5 to the Declaration

of Kelly Margolis Dagger in Support of Defendant’s Opposition to Plaintiff’s January 17, 2024

Motion to Seal (ECF No. 46, the “Dagger Declaration”) (collectively, the “Sealed Documents”).

                                              ARGUMENT

                THE COURT SHOULD GRANT PLAINTIFF’S MOTION TO SEAL

       Plaintiff files this Motion to Seal (the “Motion”) to preserve his ability to proceed under

pseudonym in a separate action he has filed in a different federal district court (the “Second

Action”) pursuant to an order of the federal district judge presiding over that action.

        This Court has the authority to seal materials contained in the record. See, e.g., Stone v.

 University of Maryland Medical Systems Corp., 855 F.2d 178 (4th Cir. 1988). In accordance

 with Stone and the requirements of Local Rule 79.2, a party seeking to have a document under

 seal must comply with Section V.G. of the CM/ECF Policy Manual. Section V.G. provides that

 the party seeking the sealing of docketed materials must submit a supporting memorandum that

 specifies:

        (i)     the exact document or item, or portions thereof, for which filing under
                seal is requested;
        (ii)    How such request to seal overcomes the common law or the
                First Amendment presumption to access;
        (iii)   The specific qualities of the material at issue which justify sealing
                such material, taking into account the balance of competing interest in
                access;
        (iv)    The reasons why alternatives to sealing are inadequate; and
        (v)     Whether there is consent to the motion.

 See Section V.G., CM/ECF Policy Manual.




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         Plaintiff addresses each of these criteria below.

A. Defendant Has Not Consented to this Motion

         Defendant does not consent to the filing of the Sealed Documents under seal.

B. The Documents (or Portions Thereof) Plaintiff Seeks To File Under Seal

    1.    ECF No. 46-1 (Exhibit 1 to the Dagger Declaration): This is a letter filed by counsel

for Plaintiff in the appeal Plaintiff took from this Court’s January 5, 2023 order denying Plaintiff

permission to proceed anonymously in this action (ECF No. 8). The letter advised the Fourth

Circuit of an order issued by the federal district court judge presiding over the Second Action

granting Plaintiff the right to proceed in that action under pseudonym, and attached a copy of said

order. Both the letter from counsel and the order identify the case name and number of the Second

Action. If filed publicly in connection with this action, any person viewing the case docket in this

action will be able to readily identify Plaintiff in the Second Action.

    2.    ECF No. 46-2 (Exhibit 5 to the Dagger Declaration): This is a printed result list from

a query seeking all actions filed against Tulane University (“Tulane”) in 2022 and 2023 pending

in the federal district court in which the Second Action was filed. All of the actions that appear on

the list are identified by case number and name. The only action on the result list with a plaintiff

employing a pseudonym is the Second Action. The Sealed Document, viewed in connection with

the Dagger Declaration, Defendant’s Opposition to the Motion to Seal, and filed on the docket in

this case will expose Plaintiff’s identity in the Second Action.

C. This Request to Seal Overcomes Any Presumption to Public Access to the Materials at
   Issue; The Specific Qualities of the Material At Issue Favor Sealing in the Context of a
   Balancing of Plaintiff’s Interests and Harm and the Public’s Interest and Harm.

          1. Applicable Standards

          A court considering a motion to maintain documents under seal must first determine the



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nature of the information and the public’s right to access. Stone, 855 F.2d at 180. The common

law presumption in favor of access attaches to all judicial records and documents; by contrast,

First Amendment protection is limited to certain judicial records and documents, for example

those attached to a dispositive motion. Id. There is no First Amendment right of access where

the documents sought to be sealed are not submitted in support of or opposition to any motion

seeking dispositive relief. See, e.g., Covington v. Semones, No. 7:06cv00614, 2007 WL 1170644,

at *2 (W.D. Va. April 17, 2017) (“In this instance, as the exhibits at issue were filed in connection

with a non-dispositive motion, it is clear there is no First Amendment right of access.”); Silicon

Knights, Inc. v. Epic Games, Inc., No. 5:07-CV-275-D, 2008 WL 2019648, at *1 (E.D.N.C. May

8, 2008) (right of access at issue arose under the common law where documents to be sealed did

not pertain to dispositive relief).

        The court must (1) provide public notice of the request to seal and allow interested parties

a reasonable opportunity to object, (2) consider less drastic alternatives to sealing the documents,

and (3) provide specific reasons and factual findings supporting its decision to seal the documents

and for rejecting the alternatives. Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000)

(citations omitted).

        2. Application to the Sealed Documents

        The Sealed Documents are exhibits to Defendant’s Opposition to Plaintiff’s Motion to

Seal dated January 17, 2024 (ECF Nos. 42-43). That motion is not dispositive. Therefore the

Sealed Documents are not subject to the presumption of public access under the First

Amendment, but only that under the common law.

        The presumption of access under the common law is not absolute and its scope is a

matter left to the discretion of the district court. See, e.g., Va. Dep’t of State Police v. Washington



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Post, 386 F.3d 567, 575 (4th Cir. 2004); Chicago Tribune Co. v. Bridgestone/Firestone, Inc.,

263 F.3d 1304, 1311 (11th Cir. 2001). Any presumption of access under the common law “‘can

be rebutted if countervailing interests heavily outweigh the public interests in access,’ and ‘[t]he

party seeking to overcome the presumption bears the burden of showing some significant interest

that outweighs the presumption.’” Washington Post, 386 F.3d at 575 (quoting Rushford v. New

Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir.1988)).

       The party seeking the sealing of materials is only required to demonstrate the necessity

and propriety of sealing the documents at issue; the court, in its discretion, may seal such

documents if it deems such sealing appropriate. See, e.g., Hall v. United Air Lines, Inc., 296 F.

Supp. 2d 652, 680 (E.D.N.C. 2003).

       The Court may consider several factors to make this determination: “whether the

[material is] sought for improper purposes, such as promoting public scandals or unfairly gaining

a business advantage; whether release would enhance the public’s understanding of an important

historical event; and whether the public has already had access to the information contained in

the records.” Gonzalez v. Cuccinelli, No. 19-1435, 2021 WL 127196 (4th Cir. Jan. 14, 2021)

(quoting In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984); citing Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 597–608 (1978)).

       Plaintiff submits that to the extent the documents he seeks to file under seal would reveal

his identity in the Second Action, it may be sought for improper purposes, including to harass,

punish or intimidate him. The public has minimal interest in access to the order issued in the

Second Action granting Plaintiff the right to proceed therein anonymously because that order

is available to the public on the ECF system for the district court in which the Second Action

is pending. And the public’s interest in the results of a Pacer query that any member of the public



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    could conduct on their own is minimal if not nonexistent. Because the Sealed Documents contain

    information already accessible to the public, they would only be of interest to a member of the

    public who is seeking to obtain the identity of the plaintiff in the Second Action. It is unclear

    whether under applicable caselaw the interest of members of the public in circumventing the

    order of a federal district court permitting a party to proceed anonymously in an action is even

    cognizable. 1

            In any event, balanced against the minimal impact the sealing requested here would have

    on public access to information, Plaintiff’s interest in protecting his anonymity in the Second

    Action is both urgent and compelling. The Second Action involves Plaintiff’s sexual conduct.

    It will involve the disclosure of private, intimate details concerning sexual interactions. See, e.g.,

    Doe v. Rector & Visitors of George Mason Univ., 179 F. Supp. 3d 583, 593-594 (E.D. Va. 2016)

    (“what justifies the use of pseudonym here is plaintiff’s status as an accused perpetrator of sexual

    misconduct … he should not have his name forever associated in the public mind with an

    accusation that carries a significant social stigma”); Doe v. Univ. of St. Thomas, No, 16-cv-1127,

    2016 WL 9307609, at *2 (D. Minn. May 25, 2016) (“forcing Mr. Doe to proceed under his true

    name would guarantee a permanent label as a sexual offender, discoverable with a simple

    Google search”). Moreover, because he is challenging a university’s Title IX proceeding based

    on sexual misconduct in the Second Action, Plaintiff faces “potential retaliatory and emotional

    harm” if his association with that case is exposed. See, e.g., Doe v. Grinnell College, No. 4:17-

    cv-079, 2017 WL 11646145, at *3 (S.D. Iowa July 10, 2017) (citing Sealed Plaintiff v. Sealed

    Defendant, 537 F.3d 185, 189–90 (2d Cir. 2008)).

            In cases such as the Second Action, where students seek to expunge findings of sexual



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    Undersigned counsel has not found any federal caselaw addressing this question.

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misconduct from their university records, requiring them to proceed against the universities in

their own name would risk causing them the very harm they are seeking to remedy. See e.g.,

Doe v. Virginia Polytechnic Inst., No. 7:21-CV-378, 2022 WL 972629, at *3-4 (W.D. Va. Mar.

30, 2022) (“Doe is seeking injunctive relief to expunge the allegations of sexual misconduct

from his record. If his identity in this lawsuit is disclosed, it will greatly undermine any relief to

which he may be entitled.”); Doe v. Univ. of Mississippi, 2018 WL 1703013, at *2 (Apr. 6,

2018); Grinnell College, 2017 WL 11646145, at *3; Doe v. Alger, 317 F.R.D. 37, 42 (W.D. Va.

2016).

         An additional factor should also be considered here: This Court’s determination

concerning sealing will have a direct impact on the effectiveness of a sister court’s protective

order – the order issued by the judge presiding over the Second Action permitting Plaintiff to

proceed therein pseudonymously. If made accessible to the public on this Court’s docket, the

Sealed Documents will reveal Plaintiff as the plaintiff in the Second Action. The effect of this

would be to nullify the anonymity order issued by the judge presiding over the Second Action

to protect Plaintiff from harm.

         “[D]istrict courts have relied upon considerations of comity to avoid modifying or

invalidating rulings from other courts.” Owlet Baby Care, Inc. v. Masimo Corp., No. 2:21-MC-

00096-TS-JCB, 2021 WL 1753537, at *3 (D. Utah May 4, 2021). A denial of this Motion would

not expressly modify the anonymity order issued in the Second Action. Nevertheless, the

reasoning employed by federal courts in cases in which they are asked by parties to modify

protective orders issued in other cases is highly relevant here: “Courts which have been called

upon to decide discovery motions that involve requests to modify or terminate a protective order

previously issued by another court, whether state or federal, have frequently felt constrained by



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principles of comity, courtesy, and, where a federal court is asked to take such action with regard

to a previously issued state court protective order, federalism.” Tucker v. Ohtsu Tire & Rubber

Co., 191 F.R.D. 495, 499 (D. Md. 2000). “When the production of discovery documents would

violate a protective order entered in a separate litigation, ‘[p]rinciples of comity and respect for

preexisting judicial orders generally compel the parties to return to the court that issued the

existing protective order for any modifications.’ ” Horton v. Love’s Travel Stops & Country

Stores, Inc., No. 1:19CV1193, 2021 WL 7162555, at *3 (M.D.N.C. Mar. 29, 2021) (quoting

Bowen v. Adidas Am., Inc., No. CV 3:18-3118-JFA, 2021 WL 425889, at *1 (D.S.C. Feb. 5,

2021)); see also, e.g., Santiago v. Honeywell Int’l, Inc., No. 16-CIV-25359, 2017 WL 3610599,

at *2 (S.D. Fla. Apr. 6, 2017) (denying a motion to modify a protective order issued by another

court); Dushkin Publ’g Grp., Inc. v. Kinko’s Serv. Corp., 136 F.R.D. 334, 335 (D.D.C. 1991)

(refusing “as a matter of comity” to order production of documents covered by a protective order

issued by another court).

        These factors supporting Plaintiff’s request for sealing far outweigh the public’s minimal

need or interest in accessing the Sealed Documents.

D. Necessity of Sealing, Inadequacy of Alternatives

        The Court has previously rejected Plaintiff’s request to proceed pseudonymously and the

Fourth Circuit affirmed that ruling. Accordingly, there are no alternatives of which undersigned

counsel is aware that will prevent the exposure of Plaintiff’s identity as the plaintiff in the Second

Action in the event the Sealed Documents are filed publicly on this Court’s ECF system.




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                                       CONCLUSION

       For the foregoing reasons, the Court should grant this Motion and signed Plaintiff’s

Proposed Order to Seal filed concurrently herewith.

Dated: January 29, 2024

                                            Respectfully Submitted,

                                            By: /s/ Andrew T. Miltenberg
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                               CERTIFICATE OF SERVICE

    I hereby certify that on January 29, 2024, a true and correct copy of the foregoing was served

by CM/ECF on all counsel of record.

                                                      /s/ Andrew T. Miltenberg




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